	NO. 07-12-0225-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	JUNE 19, 2012
	______________________________

	CARLOS I. MORIN,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_________________________________

	FROM THE 137th DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2007-418,394; HON. CECIL PURYEAR, PRESIDING
	_______________________________

	Order of Dismissal
	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Carlos I. Morin, appellant, attempts to appeal from his conviction for assault.  The trial court pronounced sentence and signed the judgment in October of 2008.  Appellant did not file his notice of appeal until June 1, 2012.  We dismiss for want of jurisdiction.

To be timely, a notice of appeal must be filed within thirty days after the sentence is imposed or suspended in open court or within ninety days after that date if a motion for new trial is filed.  Tex. R. App. P. 26.2(a).  Therefore, the deadline for perfecting an appeal here lapsed several years ago. 
A timely filed notice of appeal is essential to invoke our appellate jurisdiction.  Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).  If it is untimely, we can take no action other than to dismiss the proceeding.  Id. at 523.  Appellant's notice being untimely filed, we have no jurisdiction over the matter and dismiss the appeal.
Accordingly, appellant's appeal is dismissed.

Per Curiam 



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